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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD MANAGEMENT,
 LLC; BUCKLEY FARMS, LLC; ORANGE
 CAPITOL, LLC; 216 EAST MAIN STREET                         Case No.
 MERIDEN, LLC; BD PROPERTY HOLDINGS,                        __________________
 LLC; PRIME MANAGEMENT, LLC; AND,
 HABERFELD ENTERPRISES, LLC,

          Plaintiffs,
                                                                      JUNE 16, 2020
 v.

 NED LAMONT

          Defendant.



            PLAINTIFFS’ MOTION FOR EMERGENCY TEMPORARY
             RESTRAINING ORDER, OR, IN THE ALTERNATIVE,
                ISSUANCE OF A PRELIMINARY INJUNCTION

       Pursuant to Fed. R. Civ. P. 65, the Plaintiffs in the above entitled action hereby seek

an emergency temporary restraining order or, in the alternative, the issuance of a preliminary

injunction against the Defendant’s illegal, unconstitutional and ultra vires Executive Orders.

       As more fully set forth in the Plaintiffs’ accompanying Memorandum of Law in

support of this Motion, the Plaintiffs seek immediate preliminary relief to enjoin the

enforcement of the challenged measures of Executive Order 7G and Executive Order 7X

because such Orders, undertaken under color of law, illegally deprive the Plaintiffs of their

Constitutional right to private contract, right to due process of law, right to equal protection

under the law, and right against having their property taken for public use without just

compensation. Further, the relevant portions of Executive Order 7X are also outside the
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scope of the Defendant’s constitutional and statutory authority, and are therefore ultra vires.

As a result of the ongoing injuries the Defendant’s Orders are imposing on the Plaintiffs and

others like them, the Plaintiffs move for a temporary restraining order or in the alternative, a

preliminary injunction. Expedited consideration is necessary because the harm to Plaintiffs is

occurring now, and it is irreparable.

       Dated: JUNE 16, 2020                 Respectfully submitted,

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